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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 16-CR-20893-MORENO

  UNITED STATES OF AMERICA

  vs.

  MONTY RAY GROW
  _____________________________/

              MOTION FOR NEW TRIAL BASED ON NEWLY DISCOVERED
                     EVIDENCE AND REQUEST FOR HEARING

         Monty Ray Grow, through undersigned counsel, respectfully moves under Fed. R.

  Crim. P. 33(b) for a new trial based on newly discovered evidence of juror misconduct and in

  support states:

         1.      During voir dire, a juror who sat in judgment on this case falsely denied having

  been arrested. Juror Jansel Jose Febres Cotto stated under oath that neither he nor any one

  close to him had been arrested. Further, when the Court directly questioned Mr. Cotto about

  arrests, he expressly maintained that he had never been arrested, but said that friends of his

  had been arrested for possession of drugs and were treated fairly. [Tr. 01/22/18, p. 121–122]

  (“Q. Have you or anyone close to you ever been arrested? A. No. Q. You had to think about

  it a little bit. A. I mean, not so close. Q. How far? A. I mean, friends....”). In fact, Mr. Cotto

  was arrested on November 23, 2014, and again on April 5, 2015, for possession of marijuana

  in violation of Florida Statutes § 893.23(6)(B). Copies of his arrest records are attached as

  Exhibit A.

         2.      This Court presided over voir dire on January 22, 2018. Prospective jurors




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  filled out written questionnaires, in addition to responding to questions from the Court and

  counsel. At the beginning of voir dire, this Court had the prospective jurors sworn and

  reminded them of their obligation to be truthful during the process. [Tr. 01/22/18, p. 9]. This

  Court specifically instructed them that all jurors would be asked whether they (or their

  relatives or friends) had ever been arrested and whether they believed the system treated

  any arrested person fairly. [Tr. 01/22/18, p. 14]. Further, the prospective jurors were

  instructed to simply let the Court know if any of them was uncomfortable speaking in open

  court about a subject. [Tr. 01/22/18, p. 19].

         3.     The Sixth Amendment guarantees a criminal defendant a trial by an impartial

  jury. It is well-established that a juror’s dishonesty during voir dire compromises the trial

  process: “If the answers to the questions [during voir dire] are willfully evasive or knowingly

  untrue, the talesman, when accepted, is a juror in name only. His relation to the court and

  to the parties is tainted in its origin; it is a mere pretense and sham.” Clark v. United States,

  289 U.S. 1,11 (1933); see also McDonongh Power Equip., Inc. v. Greenwood, 464 U.S. 548, 554

  (1984) (“The necessity of truthful answers by prospective jurors if [voir dire] is to serve its

  purpose is obvious.”).

         4.     The remedy for this misconduct is vacatur of judgment because Mr. Cotto was

  dishonest and “[a] juror’s dishonest is a strong indication of bias.” United States v. Carpa,

  271 F.3d 962, 967 (11th Cir. 2001).1 “If a court determines there was actual bias, the juror’s

  inclusion in the petit jury is never harmless error.” Id.



         1
        The jury verdict finding Mr. Grow guilty of 16 out of 41 counts was returned on
  February 5, 2018. This motion is therefore timely filed pursuant to Fed. R. Crim. P. 33(b).



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         5.     Mr. Cotto’s failure to disclose his two arrests and his contacts with the criminal

  justice system during the Court’s pointed questioning establishes that he was not an

  impartial juror. [Tr. 01/22/18, p. 122] (“Q. Do you think [your friends who were arrested] were

  treated fairly? A. Yeah.”). Mr. Cotto evidently lied because “[h]e believed that relevation of

  that information might thwart [his] desire to sit on this case.” United States v. Colombo, 869

  F.2d 149, 151 (2d Cir. 1989). “If those are the facts, Mr. [Grow’s] conviction cannot stand,

  because such conduct obstructed the voir dire and indicated an impermissible partiality on

  the juror’s part.” Id.

         6.     The failure to disclose the withheld information not only prevented the defense

  from formulating potential challenges for cause, but also thwarted their ability to

  meaningfully exercise peremptory challenges. See United States v. Barnes, 604 F.2d 121, 139

  (2d Cir. 1979) (finding that defendants deserve “a full and fair opportunity to expose bias or

  prejudice on the part of veniremen,” and “there must be sufficient information elicited on voir

  dire to permit a defendant to intelligently exercise not only his challenges for cause, but also

  his peremptory challenges”) (internal quotations and citations omitted).

         7.     At a minimum, this Court should conduct an evidentiary hearing to make

  further inquiry into Mr. Cotto’s reasons for failing to disclose this important information and

  make additional inquiry as to whether there was other information that this juror failed to

  disclose.




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         Wherefore Mr. Grow requests that the Court grant his motion for a new trial or, in

  the alternative, conduct an evidentiary hearing to evaluate the juror misconduct that

  occurred during his trial.

                                                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

         This motion was e-filed on December 3, 2018, through CM/ECF.


                                                   /s/ David Oscar Markus
                                                   David Oscar Markus




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